      Case 4:19-cv-00961-RDP-JHE Document 41 Filed 05/27/20 Page 1 of 2                                FILED
                                                                                              2020 May-27 PM 02:03
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 MIDDLE DIVISION

 BALBIR SINGH,                                  )
                                                )
        Petitioner,                             )
                                                )
 v.                                             )   Case No.: 4:17-cv-01793-RDP-JHE
                                                )
 JEFF SESSIONS, et al.,                         )
                                                )
        Respondents.                            )

 ____________________________________________________________________________

 BALBIR SINGH,                                  )
                                                )
        Petitioner,                             )
                                                )
 v.                                             )   Case No.: 4:19-cv-00961-RDP-JHE
                                                )
 MARK MORGAN, et al.,                           )
                                                )
        Respondents.                            )

                                            ORDER

       On March 18, 2020, the undersigned held a telephone conference to discuss several

outstanding issues related to the forthcoming evidentiary hearing in these consolidated petitions.

After that telephone conference, the undersigned granted Petitioner’s motion for discovery and

allowed Respondents until May 18, 2020 to identify documents responsive to Petitioner’s requests

for production and assert any objections to those requests. (Doc. 22). Respondents did not assert

any objections by that date, nor has Petitioner indicated that Respondents have not complied with

his requests for production.

       Accordingly, this case is SET for a telephone conference on June 16, 2020 at 10:00 a.m.,

to discuss the status of discovery and next steps, including logistics for the evidentiary hearing.
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The parties are DIRECTED to call 877-873-8017 to access the telephone conference. The access

code is 4577302. The parties should call in five minutes prior to the start time of the conference.

       DONE this 27th day of May, 2020.



                                              _______________________________
                                              JOHN H. ENGLAND, III
                                              UNITED STATES MAGISTRATE JUDGE




                                                     2
